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3
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5
                                   UNITED STATES DISTRICT COURT
6
                           FOR THE EASTERN DISTSRICT OF CALIFORNIA
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8                                                     )    Case No. 13-cr-00054 KJM
     UNITED STATES OF AMERICA,                        )
9                                                     )    STIPULATION AND PROPOSED ORDER
                     Plaintiff,                       )    MODIFYING CONDITIONS OF PRETRIAL
10                                                    )    RELEASE
            vs.                                       )
11                                                    )
     CHRISTOPHER NAVARRO,                             )
12                                                    )
                     Defendant                        )
13                                                    )
14
            Jason Hitt, Assistant U.S. Attorney, for the government, and Timothy E. Warriner, for the
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     defendant, hereby stipulate that the following conditions of Christopher Navarro’s pretrial
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     supervision should be removed:
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            Condition 13: “You shall participate in the following home confinement program
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19
     components and abide by all the requirements of the program, which will include electronic

20   monitoring or other location verification system: CURFEW: You are restricted to your residence

21   every day as directed by the pretrial services officer.”
22          Condition 14: “You shall, in accordance with this release order, have a home monitoring
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     unit installed in your residence, a radio frequency transmitter device attached to your person, and
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     shall comply with all instructions for the use and operation of said devices as given to you by the
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     Pretrial Services Agency and employees of the monitoring company. You shall pay all or part of
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     the costs of the program based upon your ability to pay, as determined by the pretrial services
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     officer.”

3            It is further stipulated that the following condition of pretrial supervision be added:

4            “You shall participate in a program of medical or psychiatric treatment, including
5    treatment for drug or alcohol dependency, as approved by the pretrial services officer. You shall
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     pay all or part of the costs of the counseling services based upon your ability to pay, as
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     determined by the pretrial services officer.”
8
             The foregoing modifications to Mr. Navarro’s pretrial release conditions have been
9
     approved by the U.S. Pretrial Services Officer.
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11   DATED: March 25, 2014                           /s/ Timothy E. Warriner, Attorney for Defendant,
                                                     Christopher Navarro
12
     DATED: March 25, 2014                           /s/ Jason Hitt, Assistant U.S. Attorney
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15
                                                     ORDER

16           GOOD CAUSE APPEARING and based upon the stipulation of the parties, the court

17   adopts and orders the foregoing modifications to the conditions of Christopher Navarro’s pretrial
18   release.
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     Dated: March 25, 2014
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